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                      .<<       KGHL:;        mU0OOMAL         EHO;       ¥:_;       E09:          m:22MAL; R00<;
                   ./012345678839:;1<2;3=8>??3;:@0AB;CD
                   N:29:HI:9P3QH<<3R9H@SMAL3T093KA/01AB3QH<<;
                   U22O;PVV9:29:HI:9>@0G
                   WXYZX[\XZ]^3MA/01AB3@H<<329H@SMAL3H<<0_;3̀013203HAH<`a:3MA/01AB3@H<<;3HAB3B9MI:3UMLU:9
                   @0AI:9;M0A;>3b:2c;3L90_3̀01939:I:A1:>3b:H9A3G09:3F90G3WXYZX[\XZ320BH`d
                       b0LeMA                                           f<0L
                       N:29:HI:930FF:9;3@1;20GMaH/<:3@H<<               N:29:HI:93f<0L>3g0_3203hIH<1H2:                             m::3012;MB:
                       29H@SMAL63H229M/12M0A3HAB39012MAL3>>>            ijMA:3Q0AI:9;M0A;>3bH19H3>>>
                       k9M@MAL                                          m0F2_H9:
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                       HL:A@M:;3U:<O;3GHlMGMa:3>>>                      R03n90_3o0193f1;MA:;;3>>>                      R:<:@0GG1AM@H2M0A;3;:9IM@:3O90IMB:93MA3mHA
                       ./012                                            EH9S:2:9                                       T9HA@M;@063QH<MF09AMH
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                       GH9S:2:9;3p3HL:A@M:;3LH2U:93>>>                  GH9S:2:9;3L:A:9H2:3G09:3<:HB;3>>>
                       E09:39:;1<2;3F90G39:29:HI:9>@0GDJ                                                               X=5C35r5ew5w5
                                                                                                                       m1LL:;23HA3:BM233i_A32UM;3/1;MA:;;
                   N:29:HI:93N:IM:_;3HAB3k9M@MAL3e3q84r3e3QHO2:99H
                   U22O;PVV___>@HO2:99H>@0G3s3QH<<3R9H@SMAL3m0F2_H9:                                                   .BB3GM;;MAL3MAF09GH2M0A
                             3NH2MALP3?3e33r39:IM:_;                                                                   .BB3/1;MA:;;3U019;
                   TMAB30123_UH231;:9;3H9:3;H`MAL3H/0123WXYZX[\XZ>3N:HB31;:93WXYZX[\XZ39:IM:_;63O9M@MAL
                   MAF09GH2M0A3HAB3_UH23F:H219:;3M230FF:9;>                                                            Y^[X"65+%+67%"
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                   <:I:9HL:3̀0193O90F:;;M0AH<3A:2_09S63HAB3L:23UM9:B>
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                   U22O;PVV___>Lq>@0G3s3KA/01AB3QH<<3R9H@SMAL3m0F2_H9:3s3N:29:HI:93N:IM:_;                             f:32U:3x9;232039:IM:_
                   TM<2:93qw39:IM:_;3/`32U:31;:9;c3@0GOHA`3;Ma:6390<:3093MAB1;29`3203xAB30123U0_3WXYZX[\XZ3_09S;3F09               E09:3H/0123N:29:HI:9
                   H3/1;MA:;;3<MS:3̀019;>
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                        E09:3MGHL:;3F0939:29:HI:9                                                  N:O0923MGHL:;

                   N:29:HI:93m0F2_H9:3e3q84r3N:IM:_;63k9M@MAL3p3v:G0
                   U22O;PVV___>;0F2_H9:HBIM@:>@0G3s3@H<<e@:A2:93s39:29:HI:9eO90x<:
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                   <9=>?;=@6@A@5@BC@5@A@<9DE9F@BC@GHIJHKLHJ@MBC;FNO9P@=Q=;9R@BD9ODE9FS@C9N;>O9=S@TOEU9@NVW@UB=;
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                   EVCBORN;EBVX@Y9;@CO99@W9RB=@NVW@UBRTNO9@;B@=ERE?NO@TOBZONR=X
                   <9;O9ND9O@[@\VZ9?]E=;
                   ^;;T=P__NVZ9?XUB@`@UBRTNVQ@`@O9;O9ND9O
                   GHIJHKLHJ@E=@N@;9U^VB?BZQ@UBRTNVQ@W9DB;9W@;B@T^BV9@UN??@EVVBDN;EBVX@a9@^9?T@;^9@FBO?Wb=@;BT
                   UBRTNVE9=@^NOV9==@;^9@TBF9O@BC@;9?9T^BVQ@CBO@TB=E;ED9@U>=;BR9OcXXX


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                     dKefghiIjhklKhjJkmknjhKgJHokpKhkqHKhrJjokst@A@uOBR@QB>O@T?NU9=@vwBR9x@A@y=9@TO9UE=9@?BUN;EBVcAc]9NOV@RBO9
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